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 6                        IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   Gary Quinones,                                    No. CV-16-04002-PHX-DJH
10                  Plaintiff,                         ORDER
11   v.
12   IC System Incorporated,
13                  Defendant.
14
15            The Court having reviewed the parties' Stipulation for Dismissal with Prejudice as
16   to Defendant I.C. System, Inc. (Doc. 51), filed on July 26, 2018,
17            IT IS ORDERED approving the Stipulation (Doc. 51) and dismissing this action in
18   its entirety, with prejudice, each party to bear its own attorneys’ fees and costs.
19            IT IS FURTHER ORDERED directing the Clerk of Court to terminate this action.
20            Dated this 27th day of July, 2018.
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                                                    Honorable Diane J. Humetewa
23                                                  United States District Judge
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